UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA, )
Plaintiff,
v. No.:  3:22-cr-118-TAV-JEM-1
EDWARD KELLEY, 5
Defendant.
VERDICT FORM

We, the members of the jury, find unanimously and from all the evidence as follows:
Count One

1) As to Count One of the Indictment charging a violation of 18 U.S.C. §§ 1114, 1117, that
is, from a date unknown, but at least from on or about December 3, 2022, to on or about December
15, 2022, within the Eastern District of Tennessee and elsewhere, defendant Edward Kelley and
another knowingly and intentionally combined, conspired, confederated, and agreed together and
with each other to murder officers and employees of the United States, to wit, employees of the
Federal Bureau of Investigation, while such officers and employees were engaged in, and on
account of the performance of, official duties, we find:

Defendant Edward Kelley:
NOT GUILTY

VS GUILTY
Count Two

2) As to Count Two of the Indictment charging a violation of 18 U.S.C. § 373, that is, from
on or about December 3, 2022, to on or about December 15, 2022, within the Eastern District of
Tennessee and elsewhere, defendant Edward Kelly, with the intent that one or more persons engage
in conduct constituting a felony that has as an element the use, attempted use and threatened use
of physical force against the person of another in violation of the laws of the United States, and
under circumstances strongly corroborative of that intent, did solicit, command, induce, and
endeavor to persuade such other persons to engage in such conduct, that is, to murder an officer
and employee of the United States in violation of 18 U.S.C. § 1114, we find:

Defendant Edward Kelley:
NOT GUILTY

4 GUILTY
Count Three
3) As to Count Three of the Indictment charging a violation of 18 U.S.C. § 115(a)(1)(B), that
is, on or about December 14, 2022, within the Eastern District of Tennessee and elsewhere,
defendant Edward Kelley did threaten to assault and murder Federal law enforcement officers,
with intent to impede, intimidate, and interfere with Federal law enforcement officers while

engaged in the performance of official duties, and with the intent to retaliate against such Federal
law enforcement officers on account of the performance of official duties, we find:

Defendant Edward Kelley:
NOT GUILTY

4 GUILTY

SIGNATURE REDACTED
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Date

